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                     GOLAB
                     INTELLECTUAL PROPERTY
                                 1413 Santa Cruz Ave  Coral Gables  Florida 33134  USA
                                       ℡ (305) 720-2080       www.golabip.com


                                                September 22, 2021

 Vincent B. Lynch, Esq.
 ELP Global, PLLC
 7901 Kingspointe Parkway, Suite 8
 Orlando, Florida 32819


                                        LEGAL OPINION

        This is my legal opinion regarding the rights to the mark LA ROSA REALTY (“Mark”).

 GENERAL CONSIDERATIONS

        The word mark, used hereinafter, designates both trademarks and service marks.

 Trademarks represent products while service marks represent services.

        Products and services are classified into separate lists according to an international

 classification adopted by the United States Patent and Trademark Office (“USPTO”). Only one

 trademark or service mark may be registered per international class.

        In the United States of America (“USA”), trademark and service mark rights are obtained

 only by using the mark in commerce, as stipulated by statute.

        A user of an unregistered mark acquires Common Law rights to the mark in the

 geographical area where the mark is used. Registration is not necessary in the USA to obtain

 Common Law rights.




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         A mark may be registered in a few states and at the federal level by applying to the

 USPTO. Federal registration is valid anywhere in the USA except where a state registration or

 the geographic area where a Common Law mark exist. Once a mark is registered federally only

 the mark owner has the right to use it excluding all others. Anybody using a registered mark

 without permission from the owner will be considered an infringer and be subject to penalties as

 stipulated by law, which includes legal fees incurred in enforcing a registered mark.

 SEARCH RESULTS

    a.   Dead Records

         A perfunctory search of the Mark in the USPTO’s database, the single federal authority

 in the USA to register trademarks, resulted in four records matching the Mark. Of the four

 records, two were Dead records, meaning the marks were abandoned or expired, and two were

 Live records, meaning the marks match a registered mark or an application for a mark that has

 not yet resulted in a registration or an abandonment. See Appendix 1.

         Dead records do not carry any rights nor affect a current mark registrant however they are

 important because their prosecution history may reveal information that may relate to a willful

 declaration or omission by an applicant.

         The two Dead records revealed that the applicant/owner of both marks LA ROSA

 REALTY was La Rosa Realty, LLC, the same owner of the currently registered and Live Mark.

 One of the Dead marks, Serial #85,268,595, was applied on March 16, 2011 and registered with

 Registration #4,048.588, on November 1, 2011. The mark was cancelled by the USPTO on June

 8, 2018 for failure to renew it. The second Dead mark was applied on July 17, 2018 and

 abandoned on May 6, 2019 for failure to answer an Examiner’s objection.




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     b. Live Records

         Live records explicitly reveal the identity of who has trademark rights on the Mark. Live

 records also have a prosecution history that reveals what the applicant declared to the USPTO,

 whether there were any USPTO’s Examiner objections, and if so, what the applicant answered.

 Most importantly, the prosecution history reveals the date the application was filed, when the

 Mark was granted, the international class in which registration is sought, and whether or when

 the Mark was first placed in use in commerce as of the date of filling the application.

         All applicant’s declarations in a trademark application are under explicit warning that a

 signatory willful false statements and the like are punishable by fine or imprisonment, or both,

 under 18 U.S.C. § 1001, and that such willful false statements and the like may jeopardize the

 validity of the application or submission or any registration resulting therefrom.

         Amongst other declarations the signatory declares that all statements made of his/her own

 knowledge are true and that all statements made on information and belief are believed to be

 true.

         Attorneys filing a trademark application must do so after due diligence to the best of the

 signatory's knowledge, information, and belief, formed after an inquiry reasonable under the

 circumstances, with the allegations and other factual contentions made having evidentiary

 support.

         The applicant declares that he/she is the owner of the mark sought to be registered. To

 the best of the applicant’s knowledge and belief, no other persons, except, if applicable,

 authorized users, members, and/or concurrent users, have the right to use the mark in commerce,




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 either in the identical form or in such near resemblance as to be likely, when used on or in

 connection with the goods/services, to cause confusion or mistake, or to deceive.

        A trademark application may be filled with the USPTO even if the mark has not yet been

 used in commerce under the process “Intend to Use”. The applicant declares that he/she has a

 bona fide intention, and is entitled, to use the mark in commerce on or in connection with the

 identified goods/services.    An application under “Intend to Use” will only mature into a

 registration when the mark is used in commerce within a maximum statutory time of three years.

        1. Registration #5,715,581

        A review of the first Live record, Serial #88,161,630, corresponds to a registered mark,

 comprising a logotype that includes the text LR LA ROSA REALTY. La Rosa Realty, LLC, of

 Florida, through its Principal, Joe La Rosa, applied for registration on October 19, 2018 in

 international class 036 (Real Estate Brokerage), and was on January 15, 2019 was granted

 Registration #5,715,581 (“Registration ‘581). Applicant declared that the mark was in use in

 commerce as of August 1, 2016. See Appendix 2.

        2. Serial # 90,887,485

        A review of the second Live record, Serial #90,887,485 (“Application ‘485”),

 corresponds to an application under “Intend to Use”, with a logotype different from Registration

 ‘581 but that includes the text LA ROSA REALTY PUERTO RICO PSC. Ms. Ana Ivelisse

 Morales, an individual, applied for registration on August 17, 2021 in international class 036

 (Real Estate Services, etc.), and signed all the pertinent required declarations. The application

 has not yet been examined by the USPTO. See Appendix 3.




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        From the Application ‘485 of Ms. Morales, which includes the declarations discussed

 above, it can be deduced that the requested mark was not in use in commerce at least prior to

 August 17, 2021. Furthermore, since the mark was not used in commerce, there cannot be

 Common Law rights claimed prior to the filing date without at the same time declaring to having

 made false declarations to the USPTO.

 LEGAL ANALYSIS

        The USPTO has not posted the results of the examination of the Application ‘485, thus

 the following analysis is my opinion as to what would most likely happen to this application.

 REFUSAL UNDER SECTION 2(d) – LIKELIHOOD OF CONFUSION

        Registration of the Application ‘485 applied-for mark will be refused because of a

 likelihood of confusion with the mark in U.S. Registration No. 5,715,581. Trademark Act

 Section 2(d), 15 U.S.C. §1052(d); see TMEP §§1207.01 et seq.

        Applicant’s mark is LA ROSA REALTY PUERTO RICO PSC (in stylized form) for

 “Real Estate Services, and other services” in International Class 036.

        Registrant’s mark is LR LA ROSA REALTY (in a different stylized form) for “Real

 Estate Brokerage” in International Class 036.

        Trademark Act Section 2(d) bars registration of an applied-for mark that is so similar to a

 registered mark that it is likely consumers would be confused, mistaken, or deceived as to the

 commercial source of the goods and/or services of the parties. See 15 U.S.C. §1052(d).

        Likelihood of confusion is determined on a case-by-case basis by applying the factors set

 forth in In re E. I. du Pont de Nemours & Co., 476 F.2d 1357, 1361, 177 USPQ 563, 567

 (C.C.P.A. 1973) (called the “du Pont factors”). In re i.am.symbolic, llc, 866 F.3d 1315, 1322,


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 123 USPQ2d 1744, 1747 (Fed. Cir. 2017). Any evidence of record related to those factors need

 be considered; however, “not all of the DuPont factors are relevant or of similar weight in every

 case.” In re Guild Mortg. Co., 912 F.3d 1376, 1379, 129 USPQ2d 1160, 1162 (Fed. Cir. 2019)

 (quoting In re Dixie Rests., Inc., 105 F.3d 1405, 1406, 41 USPQ2d 1531, 1533 (Fed. Cir. 1997)).

         Although not all du Pont factors may be relevant, there are generally two key

 considerations in any likelihood of confusion analysis: (1) the similarities between the compared

 marks and (2) the relatedness of the compared goods and/or services. See In re i.am.symbolic, llc,

 866 F.3d at 1322, 123 USPQ2d at 1747 (quoting Herbko Int’l, Inc. v. Kappa Books, Inc., 308

 F.3d 1156, 1164-65, 64 USPQ2d 1375, 1380 (Fed. Cir. 2002)); Federated Foods, Inc. v. Fort

 Howard Paper Co., 544 F.2d 1098, 1103, 192 USPQ 24, 29 (C.C.P.A. 1976) (“The fundamental

 inquiry mandated by [Section] 2(d) goes to the cumulative effect of differences in the essential

 characteristics of the goods [or services] and differences in the marks.”); TMEP §1207.01.

    a.   SIMILARITY OF THE MARKS

         When comparing marks, “[t]he proper test is not a side-by-side comparison of the marks,

 but instead whether the marks are sufficiently similar in terms of their commercial impression

 such that [consumers] who encounter the marks would be likely to assume a connection between

 the parties.” Cai v. Diamond Hong, Inc., 901 F.3d 1367, 1373, 127 USPQ2d 1797, 1801 (Fed.

 Cir. 2018) (quoting Coach Servs., Inc. v. Triumph Learning LLC, 668 F.3d 1356, 1368, 101

 USPQ2d 1713, 1721 (Fed. Cir. 2012)); TMEP §1207.01(b).              The proper focus is on the

 recollection of the average purchaser, who retains a general rather than specific impression of

 trademarks. In re Inn at St. John’s, LLC, 126 USPQ2d 1742, 1746 (TTAB 2018) (citing In re St.

 Helena Hosp., 774 F.3d 747, 750-51, 113 USPQ2d 1082, 1085 (Fed. Cir. 2014); Geigy Chem.




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 Corp. v. Atlas Chem. Indus., Inc., 438 F.2d 1005, 1007, 169 USPQ 39, 40 (C.C.P.A. 1971)),

 aff’d per curiam, 777 F. App’x 516, 2019 BL 343921 (Fed. Cir. 2019); TMEP §1207.01(b).

        The respective marks, LR LA ROSA REALTY and LA ROSA REALTY PUERTO

 RICO PSC, are highly similar in appearance, sound and meaning. The only difference is the

 aggregate geographic nominator and the logotype.

        Consumers are generally more inclined to focus on the text prefix, or syllable in any

 trademark or service mark. See Palm Bay Imps., Inc. v. Veuve Clicquot Ponsardin Maison

 Fondee En 1772, 396 F.3d 1369, 1372, 73 USPQ2d 1689, 1692 (Fed. Cir. 2005) (finding

 similarity between VEUVE ROYALE and two VEUVE CLICQUOT marks in part because

 “VEUVE . . . remains a ‘prominent feature’ as the first word in the mark and the first word to

 appear on the label”); Century 21 Real Estate Corp. v. Century Life of Am., 970 F.2d 874, 876,

 23 USPQ2d 1698, 1700 (Fed Cir. 1992) (finding similarity between CENTURY 21 and

 CENTURY LIFE OF AMERICA in part because “consumers must first notice th[e] identical

 lead word”); see also In re Detroit Athletic Co., 903 F.3d 1297, 1303, 128 USPQ2d 1047, 1049

 (Fed. Cir. 2018) (finding “the identity of the marks’ two initial words is particularly significant

 because consumers typically notice those words first”).

        In this case, the marks share the same first three significant words, “LA ROSA

 REALTY”. This fact contributes to the marks having the same commercial impression because

 consumers are more likely to focus on the words “LA ROSA REALTY” when viewing or

 hearing the marks.

        Here, the addition of “PUERTO RICO PSC” in Application ‘485 provides a geographic

 indication but does not obviate the overall similarity between the marks. Consumers, when

 encountering the marks LR LA ROSA REALTY and LA ROSA REALTY PUERTO RICO


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 PSC, are likely to be confused as to the source of the services at issue, particularly when the

 services are used for identical purposes.

         An additional one or two words do not change a mark’s sound and meaning and does

 very little to change a mark’s appearance. See, e.g., Seaguard Corp. v. Seaward Int’l, Inc., 223

 USPQ 48, 51 (TTAB 1984) (“[T]he marks ‘SEAGUARD’ and ‘SEA GUARD’ are, in

 contemplation of law, identical [internal citation omitted].”); In re Best W. Family Steak House,

 Inc., 222 USPQ 827, 827 (TTAB 1984) (“There can be little doubt that the marks

 [BEEFMASTER and BEEF MASTER] are practically identical”); Stock Pot, Inc., v. Stockpot

 Rest., Inc., 220 USPQ 52, 52 (TTAB 1983), aff’d 737 F.2d 1576, 222 USPQ 665 (Fed. Cir.

 1984) (“There is no question that the marks of the parties [STOCKPOT and STOCK POT] are

 confusingly similar. The word marks are phonetically identical and visually almost identical.”).

 In this case, LR LA ROSA REALTY and LA ROSA REALTY PSC are highly similar in

 appearance, sound, meaning, and give the same commercial impression.

         Accordingly, the marks are confusingly similar.

     b. RELATEDNESS OF THE GOODS

         The applicant’s “Real Estate Services; Real Estate Brokerage Services Specializing in

 Restaurants and Other Food Service Related Businesses, etc.,” are identical or closely related to

 the registrant’s “Real Estate Services” because the wording in the description of goods is broad

 enough to overlap. Additionally, these goods are commonly provided through the same channels

 of trade.

         Determining likelihood of confusion is based on the description of the goods and/or

 services stated in the application and registration at issue, not on extrinsic evidence of actual use.

 See In re Detroit Athletic Co., 903 F.3d 1297, 1307, 128 USPQ2d 1047, 1052 (Fed. Cir. 2018)


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 (citing In re i.am.symbolic, llc, 866 F.3d 1315, 1325, 123 USPQ2d 1744, 1749 (Fed. Cir. 2017)).

 In this case, the registration uses broad wording to describe “Real Estate Brokerage,” which

 presumably encompasses all services of the type described, including applicant’s more narrow

 “Real Estate Services.” See, e.g., In re Solid State Design Inc., 125 USPQ2d 1409, 1412-15

 (TTAB 2018); Sw. Mgmt., Inc. v. Ocinomled, Ltd., 115 USPQ2d 1007, 1025 (TTAB 2015).

        Thus, applicant’s and registrant’s services are legally identical in part. See, e.g., In re

 i.am.symbolic, llc, 127 USPQ2d 1627, 1629 (TTAB 2018) (citing Tuxedo Monopoly, Inc. v. Gen.

 Mills Fun Grp., Inc., 648 F.2d 1335, 1336, 209 USPQ 986, 988 (C.C.P.A. 1981); Inter IKEA Sys.

 B.V. v. Akea, LLC, 110 USPQ2d 1734, 1745 (TTAB 2014); Baseball Am. Inc. v. Powerplay

 Sports Ltd., 71 USPQ2d 1844, 1847 n.9 (TTAB 2004)).

        Additionally, the goods of the parties have no restrictions as to nature, type, channels of

 trade, or classes of purchasers and are “presumed to travel in the same channels of trade to the

 same class of purchasers.” In re Viterra Inc., 671 F.3d 1358, 1362, 101 USPQ2d 1905, 1908

 (Fed. Cir. 2012) (quoting Hewlett-Packard Co. v. Packard Press, Inc., 281 F.3d 1261, 1268, 62

 USPQ2d 1001, 1005 (Fed. Cir. 2002)). Thus, applicant’s and registrant’s services are related.

        This evidence establishes that the relevant services are provided through the same trade

 channels and used by the same classes of consumers in the same fields of use. Thus, applicant’s

 and registrant’s services are considered related for likelihood of confusion purposes. See, e.g., In

 re Davey Prods. Pty Ltd., 92 USPQ2d 1198, 1202-04 (TTAB 2009); In re Toshiba Med. Sys.

 Corp., 91 USPQ2d 1266, 1268-69, 1271-72 (TTAB 2009).

        In summary, the applicant’s and registrant’s marks create the same commercial

 impression and the respective services are highly related. Therefore, consumers are likely to be

 confused and mistakenly believe that these services originate from a common source.


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 USE IN COMMERCE

        As discussed, a mark must be used in commerce to be registered. Evidence of use in

 commerce may vary and depend on the goods/services represented by the mark. In the case of

 real estate services, the offering for sale/rent of dwellings though a website could be an

 acceptable form of evidence of use of the service mark in commerce.

        Applicant has a website https://sanjuan.larosarealtypuertorico.com where properties are

 offered for sale. See Appendix 4.

        Applicant’s website does not constitute evidence of use of the service mark in commerce

 for several reasons. The service mark requested must always be used exactly as apply for. If

 the mark is a mixed mark, has a logotype and text, it must be used as applied for, the logotype

 cannot be used separately from the text and vice versa. The text, if any, of the mark cannot be

 split or modified in any manner.

        Applicant’s website uses the text LA ROSA REALTY separated from the logotype and

 with various additions and modifications. On the top of the page it lists LA ROSA REALTY

 PUERTO RICO - SAN JUAN. On a blue strip immediately bellow it uses the text LA ROSA

 REALTY PUERTO RICO.

        In the About section, Applicant uses LA ROSA REALTY PUERTO RICO - SAN JUAN

 and in the text it uses LA ROSA REALTY and LA ROSA. The plurality of forms, none

 conforming the application, renders the webpage useless as evidence of use of the service mark.

 The webpage indicates that it was Copyrighted in 2021 by Inside Real Estate, of which no

 research was conducted but it may be used in case of a trademark infringement case.




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 CONCLUSION

         The Registration ‘581 is exclusively the property of la Rosa Realty, LLC and any

  unauthorized use of it constitutes trademark infringement.

         Applicant does not have any Common Law rights to claim, thus the use of the mark,

  including the textual portion, constitutes trademark infringement.




         Should my opinion elicit any inquiries I will be willing to respond or testify as required.

         Cordially,

         Mario S. Golab, AE, MBA, JD, MIP (IP law)
         USPTO Registered Patent Attorney




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                                          APPENDIX 1

           USPTO LISTING ON MARKS THAT INCLUDE LA ROSA REALTY

       Serial         Reg.                                                   Check
                                              Word Mark                                 Live/Dead
      Number         Number                                                  Status
                                  LA ROSA REALTY PUERTO RICO
 1 90887485                                                  TSDR                       LIVE
                                  PSC
 2 88161630        5715581        LR LA ROSA REALTY                       TSDR          LIVE
 3 88040434                       LA ROSA REALTY                          TSDR          DEAD
 4 85268595        4048588        LA ROSA REALTY                          TSDR          DEAD




                                          DEAD MARKS

 Word Mark              LA ROSA REALTY
 Goods and Services     (CANCELLED) IC 036. US 100 101 102. G & S: Real estate brokerage.
                        FIRST USE: 20040901. FIRST USE IN COMMERCE: 20040901
 Mark Drawing Code (3) DESIGN PLUS WORDS, LETTERS, AND/OR NUMBERS
 Design Search Code 07.01.04 - Detached house
                    07.01.06 - Other houses
                    26.03.02 - Ovals, plain single line; Plain single line ovals
                    26.17.01 - Bands, straight; Bars, straight; Lines, straight; Straight line(s),
                    band(s) or bar(s)
                    26.17.06 - Bands, diagonal; Bars, diagonal; Diagonal line(s), band(s) or
                    bar(s); Lines, diagonal
 Serial Number          85268595
 Filing Date            March 16, 2011
 Current Basis          1A
 Original Filing Basis 1A
 Published for
                        August 16, 2011
 Opposition
 Registration
                        4048588
 Number
 Registration Date      November 1, 2011



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 Owner                 (REGISTRANT) La Rosa Realty LIMITED LIABILITY COMPANY
                       FLORIDA Suite 100 1420 Celebration Blvd Celebration FLORIDA 34747
 Disclaimer            NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE
                       "REALTY" APART FROM THE MARK AS SHOWN
 Description of Mark Color is not claimed as a feature of the mark. The mark consists of the
                     stylized underlined text "La Rosa Realty" on an oval containing a house.
 Type of Mark          SERVICE MARK
 Register              PRINCIPAL
 Other Data            The name "LA ROSA" in the mark identifies JOSEPH LA ROSA, a living
                       individual whose consent is of record.
 Live/Dead Indicator DEAD
 Cancellation Date     June 8, 2018




 Word Mark              LA ROSA REALTY

 Goods and Services     (ABANDONED) IC 036. US 100 101 102. G & S: Real estate brokerage.
                        FIRST USE: 20040901. FIRST USE IN COMMERCE: 20040901

 Standard Characters
 Claimed

 Mark Drawing Code (4) STANDARD CHARACTER MARK

 Serial Number          88040434

 Filing Date            July 17, 2018

 Current Basis          1A

 Original Filing Basis 1A

 Owner                  (APPLICANT) LA ROSA REALTY, LLC LIMITED LIABILITY
                        COMPANY FLORIDA joe@larosarealtycorp.com 1420 Celebration
                        Boulevard, Suite 200 Celebration FLORIDA 34747



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 Attorney of Record    Michele Diglio-Benkiran

 Disclaimer            NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE
                       "REALTY" APART FROM THE MARK AS SHOWN

 Type of Mark          SERVICE MARK

 Register              PRINCIPAL

 Live/Dead Indicator   DEAD

 Abandonment Date      May 6, 2019




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                                        APPENDIX 2

                                       LIVE MARKS

 Word Mark                LR LA ROSA REALTY
 Translations             The English translation of "La Rosa" in the mark is "The Rose".
 Goods and Services       IC 036. US 100 101 102. G & S: Real estate brokerage. FIRST USE:
                          20160801. FIRST USE IN COMMERCE: 20160801
 Mark Drawing Code        (3) DESIGN PLUS WORDS, LETTERS, AND/OR NUMBERS
 Design Search Code       26.01.21 - Circles that are totally or partially shaded.
 Serial Number            88161630
 Filing Date              October 19, 2018
 Current Basis            1A
 Original Filing Basis    1A
 Published for Opposition January 15, 2019
 Registration Number      5715581
 International
                          1483581
 Registration Number
 Registration Date        April 2, 2019
 Owner                    (REGISTRANT) La Rosa Realty, LLC LIMITED LIABILITY
                          COMPANY FLORIDA 1420 Celebration Blvd, Suite 200 Celebration
                          FLORIDA 34747
 Disclaimer               NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE
                          "REALTY" APART FROM THE MARK AS SHOWN
 Description of Mark      Color is not claimed as a feature of the mark. The mark consists of
                          circle with cursive "L" and "R" with the words "La Rosa Realty"
                          below.
 Type of Mark             SERVICE MARK
 Register                 PRINCIPAL
 Live/Dead Indicator      LIVE




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                                       APPENDIX 3

                                      LIVE MARKS

 Word Mark      LA ROSA REALTY PUERTO RICO PSC
 Goods and      IC 036. US 100 101 102. G & S: Real estate service, namely, rental property
 Services       management; Real estate services in the form of providing physical access to
                available properties via a remote call-in locking device; Real estate services to
                stop foreclosure, namely, mortgage debt management; Real estate services,
                namely, ad valorem appraisals; Real estate services, namely, condominium
                management services; Real estate services, namely, leasing and management for
                others of residential condominiums located within hotel developments; Real
                estate services, namely, leasing of individual salon suites and studios for licensed
                salon professionals; Real estate services, namely, mass appraisals; Real estate
                services, namely, property management services for condominium associations,
                homeowner associations and apartment buildings; Real estate services, namely,
                providing online questions to help users determine the best neighborhoods and
                communities suited to their individual needs and preferences; Real estate
                services, namely, rental of short-term furnished apartments; Real estate services,
                namely, rental of vacation homes; Real estate services, namely, rental of vacation
                homes, condominiums, cabins, and villas using pay per click advertising on a
                global computer network; Real estate services, namely, rental, brokerage, leasing
                and management of commercial property, offices and office space; Real estate
                services, namely, tax appraisals; Real estate services, namely, vacation home
                rental management services; Real estate acquisition services; Real estate agency
                services; Real estate brokerage services specializing in restaurants and other food
                service related businesses; Real estate escrow services; Real estate financing
                services; Real estate funds investment services; Real estate insurance
                underwriting services; Real estate investment services; Real estate investment
                trust services; Real estate investment trust advisory services; Real estate
                investment trust management services; Real estate lending services; Real estate
                listing services for housing rentals and apartment rentals; Real estate
                management services; Real estate management services relating to shopping
                centers; Real estate multiple listing services; Real estate rental services, namely,
                rental of residential housing; Real estate title insurance underwriting services;
                Real estate trustee services; Real estate valuation services; Commercial and
                residential real estate agency services; Financial services, namely, real estate
                note brokerage; Financial due diligence services in the field of real estate;
                Membership club services, namely, providing information to members in the
                fields of real estate, mortgages and debt elimination; Mortgage foreclosure
                mitigation and loan default mitigation services, namely, acquisition and lease-
                back of real estate; Residential real estate agency services; Vacation real estate
                time share exchange services; Vacation real estate timeshare services
 Mark Drawing   (0) UNKNOWN


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 Code
 Serial Number     90887485
 Filing Date       August 17, 2021
 Current Basis     1B
 Original Filing
                   1B
 Basis
 Owner             (APPLICANT) Morales, Ana Ivelisse DBA La Rosa Realty Puerto Rico, PSC
                   CORPORATION PUERTO RICO P.O. Box 361390, San Juan, PR 00936 San
                   Juan PUERTO RICO 00918
 Description of    The mark consists of 1. Name of Legal Entity, Symbol, figure, illustration, that
 Mark              denotes Puerto Rico Real Estate Business 2. Color : Blue & White maybe red 3.
                   No houses, no buildings, no palms, no island map, no photos. Timeless 4.
                   Inspirational, memorable Logo easy to identify 5. Attention and easy to recall 6.
                   Right Font and Size 7. Graphic Touches.
 Type of Mark      SERVICE MARK
 Register          PRINCIPAL
 Live/Dead
                   LIVE
 Indicator




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                                          APPENDIX 4

 Home page of https://sanjuan.larosarealtypuertorico.com/




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